Case 1:24-cr-00045-RSB-PMS           Document 1     Filed 12/13/24   Page 1 of 6   Pageid#:
                                             1



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                                 ABINGDON

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      ) No.     1:24CR45
                                               )
MARTIN ERIC ELLING                             )


                                      INFORMATION

       The United States Attorney for the Western District of Virginia and the United

States Attorney for the District of Massachusetts charge that:

                                     INTRODUCTION

       1. McKinsey & Company, Inc. (McKinsey) is a privately-owned global consulting

firm with its headquarters located in New York, New York. McKinsey provides

management consulting services to companies across industries, including many of the

largest corporations in the world.

       2. For years, McKinsey advised several pharmaceutical companies that

manufactured and sold opioids, including Purdue Pharma, L.P. (Purdue Pharma).

       3. MARTIN ERIC ELLING (ELLING) worked in various roles at McKinsey from

1993 until 2021, ultimately becoming a senior partner. ELLING served as the Director of

the Client Services Team (CST) for approximately thirty of McKinsey’s engagements with

Purdue Pharma. By 2016, ELLING had less of a direct role in the Purdue Pharma CST.

       4. In 2013, ELLING was involved in securing for McKinsey a particular

engagement with Purdue Pharma that became known as “Evolve to Excellence” or “E2E.”


                                          Page 1 of 6
Case 1:24-cr-00045-RSB-PMS        Document 1       Filed 12/13/24   Page 2 of 6   Pageid#:
                                          2



E2E included proposals by McKinsey to “turbocharge” Purdue Pharma’s OxyContin sales

including by focusing on the highest prescribers. In his role as a senior, relationship-

focused partner on E2E, ELLING was among only a few McKinsey partners who

participated in a meeting in August 2013 with members of the family who owned and

controlled Purdue Pharma and ultimately approved E2E. ELLING continued to be listed

on statements of work for engagements between McKinsey and Purdue that extended to

2018.

        5. On July 3, 2018, the Financial Times reported that a former Purdue Pharma

Board member had been named in a lawsuit filed by the Massachusetts Attorney General’s

Office relating to Purdue Pharma’s unfair and deceptive practices in its marketing of

OxyContin.

        6. The next day, on July 4, 2018, ELLING emailed another McKinsey Partner

(Individual 1) at his McKinsey email address under the subject line, “Howdy[.]” In the

email, ELLING wrote the following: “Hope you’re well. Can you send me your private

email address. Want to send you a note.” Individual 1 responded by providing his Gmail

account address.

        7. ELLING, using his McKinsey email address, then emailed Individual 1’s Gmail

address and wrote:

              Just saw in the FT that [a Purdue Pharma board member] is being sued
              by states attorneys general for her role on the [Purdue Pharma] Board.
              It probably makes sense to have a quick conversation with the risk
              committee to see if we should be doing anything other that [sic]
              eliminating all our documents and emails. Suspect not but as things
              get tougher there someone might turn to us. [Emphasis added].


                                         Page 2 of 6
Case 1:24-cr-00045-RSB-PMS        Document 1       Filed 12/13/24   Page 3 of 6    Pageid#:
                                          3



       8. INDIVIDUAL 1 responded to ELLING’s email that same day: “Thanks for the

heads up. Will do.”

       9. On August 5, 2018, a McKinsey consultant forwarded an article to ELLING

from Politico regarding the Western District of Virginia’s previous investigation of Purdue

Pharma in the early 2000s and Purdue Pharma’s resultant criminal conviction. On or about

the same day, ELLING replied, “I saw this. A good article about a very very said [sic]

situation.”

       10. On August 22, 2018, the New York Times published an article bearing the

headline, “Snaring Doctors and Drug Dealers, Justice Dept. Intensifies Opioid Fight.”

       11. On August 22, ELLING emailed himself an apparent to-do list, with the subject

line, “When home.” The items listed included: “delete old pur [Purdue Pharma] documents

from laptop[.]”

       12. Forensic analysis of ELLING’s McKinsey-issued laptop found that ELLING

removed materials related to McKinsey’s work for Purdue Pharma from the laptop,

specifically:

                a. On or about August 24, 2018, ELLING initiated the process to move the

                   “Purdue Pharma” folder in his Outlook account to the “Deleted Items”

                   folder;

                b. On or about August 25, 2018, ELLING emailed himself the following:

                   “Remove Purdue folder from garbage;”

                c. On or about August 26, 2018, ELLING initiated the process to

                   permanently delete items from the Outlook “Deleted Items” folder; and

                                         Page 3 of 6
Case 1:24-cr-00045-RSB-PMS       Document 1       Filed 12/13/24   Page 4 of 6    Pageid#:
                                         4



             d. Between in or about April 2018 and in or about September 2018,

                 ELLING removed a folder titled “Purdue” (which included a subfolder

                 entitled “Strategy”) from his Windows operating system that contained

                 more than 100 items for whom the filenames indicate they were from as

                 far back as 2004 and included the name of the Purdue Pharma CEO at the

                 time of the origination of the Purdue Pharma engagements with

                 McKinsey and who was among the former Purdue Pharma executives

                 who, in 2007, pled guilty and were convicted of misbranding.

      13. ELLING was aware of investigations into Purdue Pharma’s conduct and

knowingly deleted folders, documents, and emails from his McKinsey-issued laptop and

in doing so, deleted documents that would have been pertinent to those investigations.

                                     COUNT ONE

      14. The Introduction is incorporated by reference and realleged.

      15. Between in or about April 2018 and in or about September 2018, ELLING

knowingly destroyed and concealed records and documents with the intent to impede,

obstruct, and influence the investigation and proper administration of a matter within

the jurisdiction of the United States Department of Justice and in relation to and

contemplation of any such matter.

      16. All in violation of 18 U.S.C. § 1519.




                                        Page 4 of 6
Case 1:24-cr-00045-RSB-PMS   Document 1   Filed 12/13/24   Page 5 of 6   Pageid#:
                                     5
Case 1:24-cr-00045-RSB-PMS   Document 1   Filed 12/13/24   Page 6 of 6   Pageid#:
                                     6
